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               .     #    . #     * .*      .     .   *



 Uni
   ted StatesBankruptcy Courtforthel
                                                                                                               FILE D
     CentralDistrictofCalifornia
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                                                                                                       CLERK U.S.BANKRUPTCYCOURT
                                                                                                      CENTRALDISTRICTOF CALIFOHNIA
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                                           ing                 Q chapter11
                                                               Q chapter12
                                                               W chapter13


OffiçiplFgrrp 101
V oluntary Petition for lnd ivid uals Filing for B a nk ruptcy                                                                       :4/2c
'fl
  'ie bankrugtcy form s use yotfand Debtor1to referto a debtorfiling alone. A m arrie; coupl
                                                                                           e m ay file a bankruptcy case logether- called a
poh'tcase-and injointcases,these formsusêyoutoaskforinformationfrom b0thdebtors. Forexample,ifa form asks,<'Do you own a car,''
(
Dhe answerwould be yes ifeitherdebtorowns a car. W hen information îs needed aboutthe spouses separately,the form uses Debto''1and
  ebtot2to distingui sh between them . Injointcasesfoneofthespousesmustreportinformation asDebtoê1and theotherasDebtor2. The
sam e person m ustbe Debtor1 in aI1ofthe forrns.                                                                                '

Be as com plete and accurate as possible. lftwo m arried people arefiling together,bothareequally responsible forsuppj  yin: correct
information.Ifmore space is needed,attach a separate sheetto this form.On the top ofanyadditionalpagesy writeyournamc and case number
$ifknownj.Answereveryquestion.
 '
     .             Identify Yoorself

                                           AboutDebtor1:                                AboutDebtor2(SpouseOnlyinaJointCase):
         Yourfullnam e
         W rite the name thatison your Ben
         govem ment-issued picture
         identification(forexampl
                                e,     Fil'stname
         yourdriver'
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         passpod).                         W dlenartle               '                  Mjddl
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         Bring yourpicture                 Kora
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         with the trustee.
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   have used in the last8                  F1rstn
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   years
   Include yourmarri
                   ed of                                                                Middje name
         m aiden nalmes




                                                                                        Mldtllename
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            Ben Yizhak Kora
            ri
             lstNatrte   MtddleName             kaslkame



   O nly the last4 digits of
   yourSocialSecurity                 xxX -. XX - 8         9     9     .1                   XXX
   numberorfederal
   lndividualTaxpayer
   Identiscation num ber
   (ITIN)
                                      AboutDebtor1:

   Any business nam es
   an d Empl
           oyer                       W lhavenotusedanybusinessnamesorEINs            .      l
                                                                                             Z1IhavenotusedanybusinessnamesorslNs
   ldentification Num bers
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   the last8 Yeal
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                                              name -'
                                                    -                       -'      --       Businessname
   lncl
      ude trade names and
   doëng ôta/rpes.
                 saa name,
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s. W here you live                                                                           lfDebtor2 lives ata di
                                                                                                                  fferentaddress:


                                       18505MayallSt.UnitC
                                      Number       t
                                                   jtr
                                                     eet               -'
                                                                        '                    Number       Street



                                       Nodhridge,CA 91324
                                      City                            State      ZlP Cocja
                                      LosAngeles
                                      tiouniy
                                      Ifypurm ailing address is 4ifferentfrom the ono        IfDebtor2'sm ailing address is differentfrom
                                      above,fillitin berexNote thatthe courtwillsend         yours,*llitin here.Note thatthe courtwilisend
                                      anynoti
                                            cesto youatthi s mai ling address.               any noti
                                                                                                    cestothis mailing address.
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                Ben Yizhak Kora
               r.çîtxarqe   Vi6U1%4>lv$$3'
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 :. W hyypuarechoosing                         Check 05/.'                                               Check ana'
       this districtto file for
       bankruptcy                              W Overthe I
                                                         ast180daysbeforefilL
                                                                            ng thispeti
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                                                  otherdi
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                                                           ct.                                              otherdistrict.
                                               Q lhaveanotherreason Explain.
                                                                      .                                  Q Ihaveanotherreason Explain.
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                                                 (see28U.S.c.q1408.)                                        (see28U s.C,,
                                                                                                                        â1408,)




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               Tell1h* CoortAbou'Your Bankruplcy caso

       The chapterofthe                       Check c4r?: (Forabriefdescri
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                                                                                                          /& S.C.j342+)forIndividual
       Bankroptcy Godeyou                     f
                                              orBanknmtcy(Form 2010)),Al   so.gotothetopofpage 1andchecktheappropri
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       are choosing to file
       under                                  Q chapter7
                                              Q chapter11
                                              D Chapter12
                                              W Chapter13

8. How you willpay the fee                    Z IwillpaytheentirefeewhenIfilemypetition. Pleasecheckwiththe clerk's office inyotlr
                                                 localcourtform ore detailsabouthow you may pay. Typically,ifyouare payingthe fee
                                                 yourself,you may paywithcash, cashier's check,ormcney order, Ifyourattorney ls
                                                 subm itting yourpaym entolnyourbehalf,yourattorney may pay with a creditcard orcheck
                                                 with a pre-printed address.

                                              L1Inced to pay thefèe in installments lfyouchcose thisoption, sign and attach the
                                                Appiicatt
                                                        bn ftv lndividuals/0 Pay TheFiling Fee #)Installments(Offici
                                                                                                                   alForm 103A)                   .



                                              Q lrequestthatmyfeebewaived(YoumayreguesttllisoptiononlyifyouarefilingforChapter7
                                                 By law,a judge may,butfsnotrequired to,walve yourfee,and maydoso only ifyourincome is .
                                                 Iessthan 15QO/oofthe officialpovertyIine thatapplies toyourfam i
                                                                                                                ly size andyotlare unableto
                                                 paytl
                                                     3e feein installments) Ifyouchoose thisoption,yotlmustfIIoutthe Applicatl
                                                                                                                             httlt)Have 1/,8
                                                 Ghapter7FillngFeeW'   a/ved(OfficialForm 103B)andfileitwithyourpetition                 .




9. Haveyou filed for                          u xo
   bankruptcy w ithin the
   Iast8 years?                               Z Yes Dlstrict Central                     îNben 09/22/2015 Casenumber1'2015bk13156.

                                                                                                   MM ,?DD /YYYY
                                                      Dlstrict Central                   ïohen     07/18/2017 Case number 1:
                                                                                                                           2017bk'
                                                                                                                                 11899
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                                                           ct Central                    kvhen     08/24/2017 Case number 1:2017b812254      .
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                Ben Yizhak Kora
               Vq:(Naqçe    Viddiehlafçte            t.!1GtRt4me           -   -




 10.A re any bankruptcy
      casespendingorbeinj
      filedbyasjousewhoIs
       notfilingthls case with
      you,orby a business
      partner,orby an
      affiliate?




41.Dojourentyour                            Z No. Gotolir!e12       .
      resldence?                            Q Yes. Hasyourjandlordobtainedanevictionjudgmente ainstyou?
                                                   Q No.GotcI  ine12       .


                                                   Q Yes.FilloutInitialStat
                                                                          ementX/Jcpt?lanEvictionJut:
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                                                            pad ofthtsbankruptcjpeti
                                                                                   tion.

 '.
             ReportAboutAny Businesses You ow n as a Sole Proprielor

12.Areyouasoleproprietor a No Go to part4       .
   ofany full-orpart-lim e
   business?               Q Yes.Nameand I
                                         ocati
                                             onofbusi
                                                    ness
      A sole propri etorshi
                          p isa
      business yc/u operate asan
      indivi
           dual,and is nota
      separate Iegalenti tysuch as
      a corporation partneysbip. of
      LLC .
      Ifyou have more than one
      Gole prcprietofship:use a
      separatesheetand attachit
      totbis petition.
                                                                                                           State   ZIP Code

                                                    Chel?kthilappropriait box to describeyotr'buslnesg'
                                                    Q HealthCareBusiness(asdefinedin11US. C.j 1O1(27A))
                                                                                               .

                                                    U singl
                                                          eAssetRealEstate (asdefinedin11U S C.11fJ1(51B))
                                                                                                   .

                                                    t'
                                                     -
                                                     J Stockbrokertasdefinedin11U S.C.â1O1(53A))
                                                                                      .

                                                    Q CommodityBroker(asdefinedin11U SC.î  -101(6))
                                                                                           .           .

                                                    Q Noneofth:abcve
13.Are youfiling under                  /fyou are s///lg underChapler /1, *e ceud mustlr'/op?whetheryot?afe a :/n.a//busloess debtortntaJ/l)/(  r
   Chapter11ofthe                       choosi
                                        ar    ng to procE'/d underSubchapterk'so thatitcal?setapproprlate J/ad/   jn/s'. lfyou indicate tnatyou
                                          ea
                                        mos  sma
                                            trecentltbusiness debtorcùrycuare choosingto ppoceed underSubchapterV . you mustattach your
                                                      bal
   Bankruptcy Code, and                                  ance sheet,statementofoperations, cash-flow statement, andfederall
                                        if                                                                                   ncome tax returf)()J
                                                                                                                                                '
   are you a smallbusiness                any ofthese documentsdo notexist, follow the procedure in 11 U.S.C.j1116(1)(B).
   debtorora debtoras
   defined by 11U.S. C.1                W No. Iam notfilingunderChapter11
  1182(1):
         7
  Fora defini  tjon ofsmall             Q No. 1am filingunderChapter11. butIam NOT a smatlbusiness debtaraccording to the definition in
  tltptyillessdobtnr, see                           the Bankruptcy Code,
  11LJ.S.C j1o1(51D)                    Q Yes.1am fi
                                                   jingunderChapter11 lam asmallbusipess debtoraccording to the definition inthe
                                                                               .
                                                    Mankruptcy Gode. and 1do notchoose to proceed underSubchapterV ofCbilpter11.
                                        Q Yes.Iam fil
                                                    jngunderCbapter11, lam adebtoraccordinotothedefinitloninï 1182(1)oftlne
                                                    Bankruptcy Code, and lchoose to proceed underSubchapterV ofChapter11.
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               Ben Yizhak Kora
              F'ift;thlame   Viddr
                                 eName        LmslNârr,p


'.      '
             Repoet ifYou ow n orHave Any Hazardous Property orAny Property That Needs Im m ediale M tention

14.Do you ow n orhaveany                 W No
   propedy thatposes oris
   alleged to pose a threat              Q yes whati
                                                   sthehazard?
   ofim m inentand
   identifiable hazard to
   public health or safety?
   Ordo you own any
   propedy thatneeds
   im m ediate attention:z
     F'orexample,doyot/own
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'.
             Explain Your Efforts ko Receive a Briefing AO M: Grodit Gounseling

4s. Tellthe courtw hether              AboutDebtor1:                                             AboutDebtor2(SpouseOnlyinaJointCase):
     you have recekved a
     briefing aboutcrodit               Yeumustcheckone:                                         Yournt
                                                                                                      /slcheck0?18..
     counseling.                       Q 1receivedabri
                                                     efingfrom anapprovedcredit                  Q Ireceivedabriefing from anapprovedcredit
     The law requifes thatyou
                                          counselingagency within the 180 days before I             counseling agency withln the 180 days before 1
     receive a briefing aboutcredit       filedthisbankruptcyyetition,andIreceiveda                 filod thisbankruptcyjetition,and Ireceived a
                                          certificate ofcom pletlon.                                certificate ofcompletlon.
     coungeling beforê you fi
                            le for
     bankfuptcy.You must                  Attacha copy ofthe cedi ficate and the payment            Attach a copy ofthe certi
                                                                                                                            fi
                                                                                                                             cate and the payment
     truthfullycheckone ofthe             plan.i fany,thatyoudeï/elored with the agency.            plankifany,thatyoudeveloped with the agency.
     following choices.Ifyou
     cannotdo so,youa(e not            V Irecei
                                              vedabriefing from anapprovedcredit                 Q Ireceivedabriefing from anapproved credi
                                                                                                                                          t
     eii
       gible tofil
                 e.                       counseling agency within the 580 days before I            counseling agencywithin the 180 days before l
                                          filedthisbankruptcyqetition,butldonothavea                filedthisbankruptcyjetition,butldonothavea
                                          cedificate ofcom pletlon.                                 certificate ofcompletlon.
     lfyou file anyway the court
     can dismissyourcasê, you             Wi ti
                                              nin 14 days afteryoufilethis bankrupîcy petiti
                                                                                           on,      Wi thin 14daysafteryoufile thit
                                                                                                                                  :bankruptcypetition,
     willtosewhateverfilingfee            you MUST fi  le a copy ofthe cerbfi
                                                                            cate and payment        you MUST fil e a copy ofthe cer
                                                                                                                                  lifi
                                                                                                                                     cate and payment
     you paid,and yaurcreditors           plan,ifany                                                plan,i fany.
     can begi n coll
                   ection activiti
                                 es    Q IcertifythatIaskedforcreditcounseling
     again.                                                                                      D 1certifythatIaskêdforcreditcounseling
                                          se-icesfrom an approved agency, butwas                    servicesfrom an approved agency, butwas
                                          unableto obtain those services during the 7               unable to obtain those setvices during the7
                                          days after1made my roqtlest,and exigent                   days afterlmade my request and exigent
                                          cirtumstances merita 30-day tem porarywaiv' er            circumstances merita 3û-day temporarywaiver
                                          ofthe requirement.                                        ofthe requirement.
                                          To askfora 3O-day tGmporafy waiverofthe                  To ask fora 30.  .daytemporaly kvaiverc.  fthe
                                          requirement, attacha separate sheetexplaining             requirement,attach a separate sheetexpl    ailpi
                                                                                                                                                   ng
                                          whateffortsyou madeto cbtainthe bri  efing, why          whateffortsyou made toobtainthe briefing, why
                                          yotlwere unable to obtain itbefore youfil
                                                                                  ed for           you were unabl   e toobtain i tbeforG youfiled for
                                          bankruptcy.and whatexi   gentcircumstances               bankruptcy:and whatexigentcircumstances
                                          required youto flle thi
                                                                s case                             required youto file thiscase.
                                         Yourcase may be dismi       ssed ifthe courti
                                                                                     s             Yourcase maybe di      smissetli fthe ceu)4i
                                                                                                                                              s
                                         dissati sfied withyourreasonsfofIlc)trecei   king a       di ssatisfi
                                                                                                             ed wit: yourreasonsforpotfecei    ving a
                                         brieting before you filed forbankruptcy                   briefing before you filed forbankruptcy
                                         lfthe courti  s satisfied with yourreasons?you must       Ifthe coud i  ssatisfied withyourreasons, you must
                                         stillreceive a bri efing w'ithin 30daysafteryou fil
                                                                                           e.      stillreceivea briefing within 3: daysafteryou file.
                                         Yotlmustfi   le a cedi ficate from the approvecl          You mustfi   le acertifi
                                                                                                                          cate from the approved
                                         agency,al   ong wi th acopyofthe paymentplanyou           agency,al   ong witha copy ofthe paymentplanyou
                                         devel oped,i  fany. Ifyoudo notdo so,yourcase             developed,ifany,t    fyoudo notdo so, yourcase
                                         maybe di    gmissed.                                      may/bê ditmissed.
                                         Anyextension ofthe 3O-day deadli      ne isgranted        Any extensionofthe 3o-daydeadline isgranted
                                         onlyforcause and is l    smitedto a maxi m um of15        onlyforcause and isIimi    ted to a maxim um of15
                                         days.                                                     days.
                                       D 1am notOquired toreceivea briefingabout                 Q Iam notrequiredto receiveabriefing about
                                         creditcounseling because of:                              creditcounselins because of;
                                         I
                                         D lncapacity. Ihaveamentalillnessoramental                ' Incapacity- lhaveamentali
                                                                                                   D                         llnessoramental
                                                             deficiency thatmakes me                               deficiency thatmakes me
                                                            incapabl e cfrealizing ormaking                        i
                                                                                                                   ncapable ofreali zing armakiôg
                                                             rationaldeci sicnsaboutfinances.                      rationaldeci sionsabcuutfinances.
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                                                                                                                                 tycausesme
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                                                                                                                                 tarycombatzone.
                                         Ifyou beli
                                                  eve you are notrequi  red to receive a           I
                                                                                                   fyou beli eve you are notregujred to receive a
                                         bri
                                           efing aboutcreditcounseling, you mtzstfi  le a          briefing aboutcreditcounscling, you mtlstfll
                                         motion forwaiverofcredi tcounseling wlih the court.                                                  ea
                                                                                                   motionforwai  verofcreditcounscling with the coud.
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Debtor1         Ben Yizhak Kora
               WZTL'K'    uttgleNarne              ka,tnnme


  '&    .      Answ erThose Queslions #or Roporiing Purposes

 16.W hatkind ofdebts do                 l6a.A re
                                                uïyourdebts prim arily consum erdebG ? Consuntet'debtsare defined tn 11 U.S.LR.j1011
                                                                                                                                   .8)
    you have?                                as ocuyrsd t)y an inavzualprim afiîy fora personal, familytorhousehol'd purpose,''
                                              Q No.Gotoline 16b   .

                                              2 Yes.Gotoline17    .


                                         l6b Areyourdebts prim arilybusiness debts? Busi     nessdeô/saredebtsthatyouinctlnedtoobtain
                                             moneyfora btlsinessorinvestmentorthroughthe cperationofthe business orinvestment
                                             Q No Gotoline 16c.
                                             Q Yes,Gotojiqe17     .



                                         16c.Statetheb'
                                                      peofdebtsyouowethatarenotconsumerdebtsorbusinessdebts.


                                         W No.lam notffl
                                                       ingunderChapter7 Goto Iine 18
                                                                                  ,


      Do you estimatem atafter L'-
                                 1Yes.lam fling underChapter7 Doyouestifnate thatafteranyexemptproperty isexcluded and
                                                                          .

      any exemptproperW is            administrati
                                                 vgexpelnsesafepai
                                                                 dthatfundswillbe availabl
                                                                                         etodistri
                                                                                                 butetounsecuredcredi tors'
                                                                                                                          ?
      excluded and                    u xo
      adm inistrative expenses
      are paid thatfundsw illbe                    r
                                                   =n YeS
      available fordistribution
      to unsecured creditors?
18.HoW many creditors do                Z   1-49                              U 1,000-5,00Q                            tD 25,o(
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   ow e?                                Q   t$(>:9                            Q t,,()0!-!(),()gc)                      Q 50,001-100,06:
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                                        Q   200-999
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   Howimmu
        atoch
            yodoyou                     D $0-$50ooo
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                                                oo1-$1million                 Q   $100,000001-$500mitticm              Q   Morethan$% bilion
2c How much doyou                       Q $0-$50
   estim ateyourIiabilities             Q $5c ,000                            Q   $1,000,001-$10million                Q   S500tOO0.OO1-J91billi
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      to be?                            u S ,t%1-$1c(),o()c)                  Q   $10.(
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                                        Q $500yool-sst
                                           yoo        ltzcoo                  Q   $50,000,0:1410:million               '
                                                                                                                       D   $10,000,000001-$60billion
                                               ,:0141milli op                 Q   $100.00:,0014500milli on             D   Morethan$50bill  ion
 '.
            Sign Below

Foryou                                  thave examined thispetîtion. anclIdsciareunderpenay
                                                                                          tyofperjurythatthe informationprovidedistrueand
                                        correct,
                                        Iflhave chosen to fi
                                                           le underChapter'7, lafn aware thatImay proceed, ifeligibl
                                                                                                                   e underChapter7
                                        oftitle 11, Uni
                                                      t
                                                      ed States Code       stand the reliefavailable underead)chapter, and lchoosG't,o1p1r,
                                                                    , Iunder
                                                                                                                                           12,or13
                                        underChapter7.                                                                                    ccaed
                                        Ifno attorney represents me and Idid notpay oragreeto pay someone who isnota
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                                          s document, lhaveobtai  ned and fe3d the noti
                                                                                      ce reguired by 11U S          nattomey to heip me 5tlout
                                                                                                               C.5342(b).
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                                        1requestreli
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                                                                   lh the chapteroftltl
                                                                                      e 11. Uni
                                                                                              ted StatesCode specified in this petition
                                                                                                                   ,                          ,

                                        $understand making afal sestaternent, conceaiing property,orobtaining morleyorpropedy by fraud in connection
                                        wi
                                        18thUa bankruptcy case canresultinfines up to $2501000 orimprisonmentforupto 2'9years orb0th,
                                                                                                                               j
                                             S.C.5j 152,1M 1,1519,and 3571.
                                             .




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            Ben Yizhak Kora
          Ifsh-ham.'k   Mlolve''iL'-rik    --     tavtNalne      ' --



Foryourattorney,ifyou are 1,theattorneyforthedebtorts)namedinthispeti   tion, declarethatIhaveinformedthedebtorts)aboutell  gibl
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represented byone         to proceec londefChapter7, 11,12Ior 13 ofli
                                                                    tle 11, United StatesCode,and have explained lhe relief
                          available undereach chapterforwhtch the person iseli gible. lalsocerti
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                                                 ce required by 11 U.S.C.9342(b)mnd:inacaseinwhichq707(b)(4)(D)applies,certify tïlatjhave no
tfyou are notrppresented                  knowledge afteran inquiry thatthe informatl
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by an attorney,you do not
need to filethis page.
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                                             SignatureofAttorn y forDe tol'                                   MM    1* O D JYYYY
           Case 1:22-bk-10087-VK                            Doc 1 Filed 01/27/22 Entered 01/27/22 09:16:50                          Desc
                                                            Main Document    Page 9 of 10

Debtor1     Ben Yizhak Kora
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            r51.a
                a4m:   .. ziddlûFQ/TKRa-...         LastN3fne...




 For you ifyou are filing this                 The I
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                                                        ows you, asan i
                                                                      ndividual!to representyourselfin bankruptcy coud, butyou
 bankruptcy withoutan                          should understand thatm any people5nd itextrem ely difficultto represent
 attorney                                      themselves successfully.Because bankruptcy has Iong-term financialand legal
                                               consequences,you are strongly urged to hire a qualified attorney.
 lfyou are represented by
 anattorney,you do not                         To be successful. you mustcorredly file and jlandl
                                                                                                e yourbankruptcy case. The I-ules are very
 need to file this page.                       technical,and a mistake ori
                                                                         nadiön may affectyourrights. Forexampl   e,yourcase may be
                                               dismissed becatlse you did notfile a required document,pay a fee on time,attend a rneeting or
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                                               casesare fandom ly audited to determine ifdebtors have beenaccurate'truthful.and com plete
                                               Bankruptcy fo tld is a serious crim e;you could be fined and im pri    soned.                  .
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                                                                    thoutan attorney, theccudexpectsyotltofollow the rul  esasi  fyotthad
                                              hired an attorney. The coud willnottreatyou differentl
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                                              succ-essful,you mustbe fanniliarwîth the United States Bankfuptcy Code, the FederalRules of
                                              Bank
                                              b rup  Jtcy Procedure, and the Iocalrules ofthe courtinwhichyotlrcase i s filed. You rriustalso
                                               e famlliarwith any state exemption lawstlnatapply.

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                                              consequences?
                                              Q No
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                                              naccurate ori
                                                          rtcom plete,you cotli:lbe fined orimprisoned?
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  Ocbven Loan Servicing
  1661 '
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  W estPalm Beach, Florida 33409


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   -vine,CA 92606
